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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 22, 2019:


       MINUTE entry before the Honorable Gary Feinerman:The status hearing set for
1/28/2019 [43] is stricken and re−set for 2/28/2019 at 9:15 a.m.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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